     Case Case
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 6   Attorneys for Plaintiff
     The United States of America
 7
                                 UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA
 9   UNITED STATES OF AMERICA,                       Case No. 2:20-cr-00284-JCM-BNW -00059-
                                                    VCF0000-XXX
10                  Plaintiff,                       Motion to Unseal Case

11          v.

12   BRAYAN CORNELIO ARIAS-SERAFIN,
       aka “Brayan Cornelio,”
13
                   Defendant.
14

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16          The United States of America, by and through its attorneys, Nicholas Trutanich,

17   United States Attorney, and Jared L. Grimmer, Assistant United States Attorney, moves

18   for entry of the proposed Order unsealing the above-captioned case.

19          In support of its motion, the Government states:

20      1. On or about September 10, 2020, a Complaint was filed with the Court, charging

21   Mr. Arias-Serafin with violation of 8 U.S.C. § 1326(a), Deported Alien Found in the

22   United States. See ECF No. 1, 2:20-mj-00813-DJA.

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1       2. Mr. Arias-Serafin made an initial appearance before the Court on or about

2    September 14, 2020, and was ordered detained pending trial. Id. at ECF No. 4. Mr. Arias-

3    Serafin remains detained by the U.S. Marshals Service.

4       3. Mr. Arias-Serafin has signed a plea agreement with the United States, and this

5    Court has set a change of plea hearing for December 18, 2020. This case was not sealed

6    when before the Magistrate Court, but when set before this Court, it was designated as

7    sealed.

8       4. Therefore, the United States moves this Court to unseal the above-captioned case, in

9    that keeping it sealed is not necessary.

10             DATED this 16th day of October, 2020.

11                                              NICHOLAS A. TRUTANICH
                                                United States Attorney
12

13                                                     //s//
                                                ______________________________
14                                              JARED L. GRIMMER
                                                Assistant United States Attorney
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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
3

4    UNITED STATES OF AMERICA,                             Case No. 2:20-cr-00284-JCM-BNW 00059--
                                                           -
5                    Plaintiff,                            Order Unsealing Case

6           v.                                             (Proposed)

7    BRAYAN CORNELIO ARIAS-SERAFIN,
       aka “Brayan Cornelio,”
8
                            Defendant.
9

10

11          Upon consideration and review of the Government’s motion:

12          IT IS HEREBY ORDERED that the above-captioned matter, United States of America

13   v. Brayan Cornelio Arias-Serafin , is unsealed.

14          DATED this ____ day of October, 2020.
                                               IT IS SO ORDERED

15                                                     DATED:  12:56 pm, October 20, 2020
                                                         By the Court:

16
                                                          ____________________________
17                                                        Honorable
                                                       BRENDA        James C. Mahan
                                                                 WEKSLER
                                                          UnitedSTATES
                                                       UNITED    States District Judge
                                                                         MAGISTRATE    JUDGE
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